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                Exhibit 15
             Case 1:15-cv-05345-AJN-KHP Document 657-2 Filed 05/10/18 Page 2 of 5




From:                              Daniel Boyle <DBoyle@BSFLLP.com>
Sent:                              Friday, August 4, 2017 3:49 PM
To:                                Hassid, Alex; Michaelson, Robyn; Skakel, Deborah
Cc:                                Matthew L. Schwartz; Craig Wenner; Peter Skinner; jonathan.cogan@kobrekim.com;
                                   John Kenney; John Curley
Subject:                           RE: City of Almaty, et al v. Mukhtar Ablyazov, et al, (15-cv-5345 (AJN))


Alex-

In addition to the current topics, the Kazakh Entities intend to discuss whether Triadou will consent to the attachment its
interest in, and the assets of, its subsidiaries Syracuse Center LLC and Argon Holdings Corp pursuant to Judge Nathan’s
attachment order. [ECF No. 175].

-Dan Boyle

From: Daniel Boyle
Sent: Thursday, August 3, 2017 6:37 PM
To: 'Hassid, Alex'; Michaelson, Robyn; Skakel, Deborah
Cc: Matthew L. Schwartz; Craig Wenner; Peter Skinner; jonathan.cogan@kobrekim.com; John Kenney; John Curley;
Daniel Boyle
Subject: RE: City of Almaty, et al v. Mukhtar Ablyazov, et al, (15-cv-5345 (AJN))

Alex:

We suggest 2pm on Monday. We can use BSF’s dial-in:

Dial-in: 888-453-4405
Passcode: 702519

-Dan Boyle

From: Hassid, Alex [mailto:AHassid@blankrome.com]
Sent: Thursday, August 3, 2017 4:02 PM
To: Daniel Boyle; Michaelson, Robyn; Skakel, Deborah
Cc: Matthew L. Schwartz; Craig Wenner; Peter Skinner; jonathan.cogan@kobrekim.com; John Kenney; John Curley
Subject: RE: City of Almaty, et al v. Mukhtar Ablyazov, et al, (15-cv-5345 (AJN))

Counsel,

Apologies for the delay. We are available Monday afternoon for a meet-and-confer before 5:00 PM. Please let us know
when you are available, and please circulate dial-in information. Thank you.

Best,
Alex

Alex Hassid
Blank Rome LLP
(202) 420-3413
                                                             1
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From: Hassid, Alex
Sent: Wednesday, August 2, 2017 2:10 PM
To: 'Daniel Boyle' <DBoyle@BSFLLP.com>; Michaelson, Robyn <RMichaelson@blankrome.com>; Skakel, Deborah
<DSkakel@blankrome.com>
Cc: Matthew L. Schwartz <mlschwartz@BSFLLP.com>; Craig Wenner <CWenner@BSFLLP.com>; Peter Skinner
<PSkinner@BSFLLP.com>; jonathan.cogan@kobrekim.com; John Kenney <jkenney@hnrklaw.com>; John Curley
<jcurley@hnrklaw.com>
Subject: RE: City of Almaty, et al v. Mukhtar Ablyazov, et al, (15-cv-5345 (AJN))

Counsel,

Notwithstanding your mischaracterization of Triadou’s response, Judge Parker’s statements at the hearing did not
include any finding because, as she acknowledged, the question of SDG’s obligations was not before her. Rather, she
raised issues for the parties to discuss. To this point, however, the parties have never discussed the question of what is
in “SDG’s possession, custody, or control” in a meet-and-confer (or elsewhere). We therefore disagree that your meet-
and-confer obligations have been satisfied.

Unfortunately, our team is scattered today, but we will get back to you this evening or early tomorrow with a proposed
date & time for a meet-and-confer.

Best,
Alex

Alex Hassid
Blank Rome LLP
(202) 420-3413

From: Daniel Boyle [mailto:DBoyle@BSFLLP.com]
Sent: Tuesday, August 1, 2017 12:17 PM
To: Michaelson, Robyn <RMichaelson@blankrome.com>; Skakel, Deborah <DSkakel@blankrome.com>; Hassid, Alex
<AHassid@blankrome.com>
Cc: Matthew L. Schwartz <mlschwartz@BSFLLP.com>; Craig Wenner <CWenner@BSFLLP.com>; Peter Skinner
<PSkinner@BSFLLP.com>; jonathan.cogan@kobrekim.com; John Kenney <jkenney@hnrklaw.com>; John Curley
<jcurley@hnrklaw.com>
Subject: RE: City of Almaty, et al v. Mukhtar Ablyazov, et al, (15-cv-5345 (AJN))

Counsel:

It appears from your response that you do not intend to produce documents within SDG’s possession, custody, or
control, notwithstanding the Court’s guidance at the July 13, 2017 conference (I’ve attached the transcript of that
hearing and pasted the Court’s guidance on this question below).

Judge Parker has already found that SDG and Triadou are alter egos for the purposes of depositions [ECF No. 330, 16-
17], and on July 13th, stated that “at least for discovery purposes it seems to me that there’s no reasonable basis for a
distinction” between document requests and depositions on this question.

Considering the Court’s guidance, if your position remains that you will not produce SDG’s documents, we intend to
move to compel. We believe our meet-and-confer obligations have been satisfied by the argument on this issue before
Judge Parker on July 13th, but if you wish to meet and confer on this issue further, please propose a time and date.

Regards,
                                                             2
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Dan Boyle

             (48:10-21) THE COURT: And my inclination is that I don’t

             know that I would find differently, just from a document

             request, as opposed to a deposition. There’s an open

             allegation regarding the alter ego. And at least for

             discovery purposes it seems to me that there’s no reasonable

             basis for a distinction. I don’t know if that issue is

             before me right now. So if you believe that there’s some

             basis for the distinction, you can let me know, and I’m

             happy to take a look at that.

             Since this was just raised today, I’m not going to

             preclude you from making that argument. But I’m sort of

             [letting] you know I’m not sure there’s a distinction.

             ...

             (50:13-24) [THE COURT] But the other point is, if SDG is going to be

             subject to the discovery one way or another, what’s the

             difference anyway? I understand there’s the Hague process,

             that’s a little more cumbersome, but that doesn’t

             necessarily mean that discovery won’t be attained.

             So my thought is that the parties should be

             practical. And rather than delay discovery, if discovery is

             inevitable, and it’s going to occur, think about whether

             there’s a way to collaborate. And maybe that’s impossible

             in this case because of your position of your relationship

             with STG, but that’s something that I’d like you both to

             consider.


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From: Michaelson, Robyn [mailto:RMichaelson@blankrome.com]
Sent: Monday, July 31, 2017 7:04 PM
To: Matthew L. Schwartz; Peter Skinner; Daniel Boyle; Craig Wenner; John Kenney; John Curley;
jonathan.cogan@kobrekim.com
Cc: Skakel, Deborah; Hassid, Alex
Subject: City of Almaty, et al v. Mukhtar Ablyazov, et al, (15-cv-5345 (AJN))

Counsel,

Please find attached Triadou’s objections and responses to Almaty/BTA’s 3rd request for the production of documents.
Although you directed these requests to SDG Capital S.A. as well, SDG is not a party here and is not subject to Rule 34
requests absent proper third-party process. Accordingly, SDG has no obligation to respond or object at this time, and the
fact that it has not done so should not be construed as a waiver of its rights to do so in the future.

Thanks,
Robyn

Robyn L. Michaelson | Blank Rome LLP
The Chrysler Building 405 Lexington Avenue | New York, NY 10174-0208
Phone: 212.885.5138 | Fax: 212.277.6501 | Email: RMichaelson@BlankRome.com



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